Case 21-60101 Document 2 Filed in TXSB on 12/13/21 Page 1 of 3

Fill in this information to identify the case:

Debtor name T.W. LaQuay Marine, LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number [1 Check if this is an
(if known) amended filing

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured

Claims and Are Not Insiders 42115
EE, — irr lee

 

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.

 

Name of creditor and. - Name, telephone Nature of the claim Indicate if: Amount of unsecured claim

 

 

complete mailing __ - number, andemail | (forexample, trade |claimis —_||f the claimis fully unsecured, fil in “only.
address, including zip. _ jaddressof debts, bank loans, _|contingent, —_| unsecured claim amount. If claim is partially _
code ee creditor [professional —_—|unlliquidated, _| secured, fill in total claim amount and
a __|contact = —_—_—| services, and. =—_—s* for disputed deduction for value of collateral or setoff to
oe |government = | ~~ |ealculate unsecured claim.
‘|contracts) |
ee Total Deduction Unsecured
claim, if for value claim
partially of
secured collateral
oe S — : a or setoff
1 | Bludworth Shipyard Repairs & storage $4,775,000.00

3101 Navigation Blvd
Corpus Christi, TX 78402

 

2 | Power Repair Service Vendor $3,557 ,211.63
Inc.

314 McBride Lane
Corpus Christi, TX 78408

 

3 | Manson Construction Co. Vendor $1,500,000.00
5985 Richard St, Ste 1
Jacksonville, FL 32216

 

4 |Next Level Capital Vendor $1,253,000.00
Solutions

2200 Market St, Ste 412
Galveston, TX 77550

 

5 | Texas Funding Corp Vendor $927,000.00
PO Box 19562
Houston, TX 77224

 

 

 

 

 

 

 

 

 

 

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Debtor

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Name

T.W. LaQuay Marine, LLC

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of.creditor and Name, telephone | Nature ofthe claim |indicate if Amount of unsecured claim
‘complete mailing number, and email (for example, trade [claimis — if the claim is fully unsecured, fill in only -
address, including zip. address of _|debts, bank loans, —_|contingent, unsecured claim amount. If claim is partially
code creditor professional unliquidated, _| secured, fill in total claim amount and _
contact. _ | services, and {or disputed deduction for value of collateral or setoff to
a j government. _ - =| | calculate unsecured claim.
contracts) — —
a. Total Deduction Unsecured
claim, if for value claim
_| partially of
secured collateral
oe or setoff
6 | Rio Marine, Inc. Vendor $525,232.70
PO Box 231609
Houston, TX 77223-1609
7 |Palacios Shipyard Vendor $432,735.29
PO Box 590
Palacios, TX 77465
8 | Raymond Rigby Vendor $250,000.00
170 Creekview
Port Lacaca, TX 77979
9 | Caillou Island Towing Co Vendor $237,500.00
Inc.
PO Drawer 2568
Houma, LA 70361
10 | Apollo Electric Inc. Vendor $233,500.00
PO Box 450527
Houston, TX 77245
11} Novak Diesel Service, Vendor $122,309.66
LLC
711 State Hwy 111.N
Edna, TX 77957
12 | Schouest, Bamdas, Legal Services $119,947.19
Soshea et al.
1001 McKinney St., Ste
1400
Houston, TX 77002
13 | Oil Patch Fuel & Supply Vendor $77,103.06
Inc.
PO Box 1089
Combes, TX 78535
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2

 
Debtor

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T.W. LaQuay Marine, LLC

 

Name

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name ofcreditorand ——_|Name,telephone _[Natureoftheclaim |Indicateif _| Amount of unsecured claim — oe
complete mailing == ~—s| number, andemail _| (forexample, trade _|claimis _ If the claim is fully unsecured, fill in only
address, includingzip ——-|addressof debts, bank loans, _ | contingent, unsecured claim amount. If claim is partially
code [creditor — {professional  _|unliquidated, _| secured, fill in total claim amount and _
S [contact services, and _ or disputed deduction for value of collateral or setoff to.
ee ‘|government a calculate unsecured claim. a. LC
- |contracts) oe ;
: | Total Deduction Unsecured
claim, if for value claim
partially of
secured collateral
: : ee or setoff
14 | Sewart Supply LLC Vendor $60,831.86
PO Drawer L
Morgan City, LA 70384
15 | Aggreko Vendor $53,695.93
PO Box 972562
Dallas, TX 75397-2562
16 | Ameican Express Credit Card $52,579.21
2401 Fountain View Dr,
Ste 306
Houston, TX 77057-4854
17 | City of Port Lavaca Vendor $47,994.74
202 North Virginia
Port Lavaca, TX 77979
18 | Vessel Repair Vendor $38,248.00
Construction
PO Box 965
Groves, TX 77619
19 | Underwater Services Vendor $29,228.00
Inc.
PO Box 1461
Aransas Pass, TX 78335
20 | Gardenland Nursery Vendor $21,117.47
2802 Hwy 87
Port Lavaca, TX 77979
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 3

 
